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                            Exhibit C
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Jeff Rambin

From:                            Jeff Rambin
Sent:                            Thursday, December 10, 2009 4:50 PM
To:                              'Dan_Herp@playstation.sony.com'
Subject:                         RE: Marvell v. CSIRO (Subpoena to Sony Computer Entertainment America Inc.)


Thanks, Dan. It looks like we've got that discovery extension worked out, so we don't need to have a meet-and-confer
today. If working on a declaration is an option, let's go down that road. If not, I'll get back with a proposed meet-and-
confer time sometime tomorrow or early next week. Thanks, Jeff


From: Dan_Herp@playstation.sony.com [mailto:Dan_Herp@playstation.sony.com]
Sent: Thursday, December 10, 2009 12:28 PM
To: Jeff Rambin
Subject: RE: Marvell v. CSIRO (Subpoena to Sony Computer Entertainment America Inc.)


Jeff,

I am generally available all day today for a meet and confer call. Please let me know if there is a time that works best for
you. Thanks.

Dan




"Jeff Rambin" <jrambin@capshawlaw.com>                         To Dan Herp/ContractorISCEA@Playstation
                                                                cc
121091200903:00 PM                                         Subject RE: Marvell v. CSIRO (Subpoena to Sony Computer Entertainment America Inc.)




Dan,


Tried calling you. Figured email better than voicemail. Here's the update: There may be an agreement to extend the discovery
deadline in this case. It's been agreed in principle, stipulation should be filed shortly. As a result we should be getting more time to
work on a declaration.


Also, as to your objection below, I think (naturally) that the notice was properly served. That said, if the obstacle to getting this done
is just the deposition location, I can agree to Tyler, Dallas, or Austin.


However, in the event that the discovery extension doesn't go through, are you available for a meet-and-confer call? I've got to file
one before filing my motion.

Thanks,
Jeff

From: Jeff Rambin
Sent: Saturday, December 05, 2009 3:49 PM
To: 'Dan_Herp@playstation.sony.com'
Subject: RE: Marvell v. CSIRO (Subpoena to Sony Computer Entertainment America Inc.)


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Dan, That's right, we did agree to the ninth. I understand your position in the event we need to file a motion. I'd like to avoid that
as much as anyone.


What were your thoughts on the SCEA material?

From: Dan_Herp@playstation.sony.com [mailto:Dan_Herp@playstation.sony.com]
Sent: Friday, December 04,2009 8:S2 PM
To: Jeff Rambin
Subject: Re: Marvell v. CSIRO (Subpoena to Sony Computer Entertainment America Inc.)


Jeff,

You specifically agreed during our telephone conversation earlier today to extend the time to respond until Wednesday,
December 9, 2009, and, as I mentioned to you, I will be out of the office on Monday. As I also mentioned to you, Sony
Computer Entertainment America Inc. is not in a position to authenticate documents that were generated by other entities.
 If you intend to file a motion to compel, please be advised that, in addition to the objections previously raised, we believe
the subpoena was not probably served as it was not served in the district where the suit is pending, nor was it served
within 100 miles of the place of the deposition. We further object that the location of the deposition in Longview, Texas is
improper.

Dan

"Jeff Rambin" <jrambin@capshawlaw.com>

                                                         To Dan Herp/ContractorISCEA@Playstation
12/04/2009 01:1 0 PM
                                                          cc
                                                     Subject Marvell v. CSIRO (Subpoena to Sony Computer Entertainment America Inc.)




Dan,


Here's where I'm at. We can, and will roll this over to Tuesday, December 8, 2009. However, I'm up against a discovery deadline, so
I can't do more than that. As much as I'd like to keep working on this by agreement, we need to get a motion on file within the
discovery period. Either you can tell me that you won't produce a 30(b)(6) deponent, and I'll file a motion to compel, or you can
grab the bull by the horns and file a motion to quash. One way or the other, the motion needs to be on the 30(b)(6) notice because
the 30(b)(6) deposition is the discovery instrument that was served on Sony Computer Entertainment America, Inc.

That said, I appreCiate your willingness to work on resolvingthis via declaration. In fact, I hope that we can resolve all issues via
declaration within the discovery period. Let's keep working in that direction.

Focusing on areas of agreement first:
Based on our phone call, I understand that Sony Computer Entertainment America, Inc., will most likely be able to give a declaration
as to any document retrieved from its website: www.u5.playstation.com. With that in mind, here are some categories of
documents from that website I'd like to prove up:

1.      PS3 manuals. These are available at http://www.us.playstation.com/Support/Manuals/PS3.
2.      Selected SCEA press releases. These are available at: http://www.us.playstation.com/News/PressReleases.
3.      SCEA's PS3 homepage, www.us.playstation.com/PS3. Two Screenshots below.
                                                                     2
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4.     The page shown when you click "Learn More" on SCEA's homepage:
http://www.us.playstation.com(PS3(dearplaystationI?ILC-lps&FTTR=PS3Landing 120GBDetails. Screenshot below.
5.     The page (including imbedded video) shown when you click on the "Connect your PS3 to the Internet" on SCEA's PS3
homepage. It takes you through to: http://playstation.custhelp.com(cgi-
bin(playstation.cfg(php(enduser(std adp.php?p faqid-977&p sid-W09HwCOi.
6.     PSP Features, available at: http:/(www.us.playstation.com(PSP(Features. Including the click-to-pages for each feature.
7.     The Support homepage: http://www.us.playstation.com(Support.
8.     The "Connect your PSP to the Internet" page, linked to from the Support home page: http:((playstation.custhelp.com(cgi-
bin(playstation.cfg(php(enduser(std adp.php?p faqid=460&p sid=W09HwCOj.
9.     The "Where to Buy" page: http://www.us.playstation.com(WTB.
10. The "Boom to the Power of Boom" ad, and the blog post setting it up: http://blog.us.playstation.com(2009(11(it-only-does-
unbelievable-hd-entertainment-bundles(



Where we may differ:
Entities related to SCEA. It looks to me like SCEA's website is by-and-Iarge, marketing and product support. For example there's no
SCEA investor relations page. As to published corporate strategy and financials for the PlayStation 3 and the PlayStation Portable
I've got to go to the Sony Computer Entertainment, Inc. (SCEI) website, or the websites of Sony Corporation of America (SCA), or the
ultimate parent, Sony. Likewise, Sony Electronics markets the Playstation sytems. Some of the material I'd like to prove up comes
from those sources. With that in mind, I've attached a case about the meaning of control under the discovery rules. I think the
material at issue is within SCEA's control.

The article quoting Mr. Hirai. Given that Mr. Hirai is President of Sony Computer Entertainment, Inc., and Chairman of Sony
Computer Entertainment America, Inc., I think SCEA is in a position to confirm what he said, and likely has a copy of the article in its
own archives.


I'm glad that we are talking. That said, J need to resolve this soon. Please give me your position on these matters as soon as you
can.

Thanks,
Jeff




Jkgkjgjk




From: Jeff Rambin
Sent: Thursday, December 03, 2009 11:52 AM
To: 'Dan_Herp@playstation.sony.com'
Subject: RE: Marvell v. CSIRO (Subpoena to Sony Computer Entertainment America Inc.)

Thanks, Dan. Friday is confirmed.

Here's what I have in mind for the declaration. To be put on SCEA letterhead. I'll fill out the list of documents
later - just wanted to give you a rough idea.

Jeff




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My name is                      . I am over the age of 21, of sound mind, capable of making this declaration,
and personally acquainted with the facts herein stated:

I am employed by Sony Computer Entertainment America, Inc. My job title is
_ _ _ _ _ _ _ _ _ _ _ _ _. I am a custodian of records for Sony Computer Entertainment America,
Inc., as to the documents set forth herein.

1.    Playstation 3 Quick Reference CECHH01, 3-285-687-11(1). This 100 page document is a publication of
Sony Computer Entertainment, Inc.
2.    Playstation 3 Quick Reference CECHH01, 3-285-687-13(1). This 100 page document is a publication of
Sony Computer Entertainment, Inc.
3.    Playstation 3 Quick Reference CECHK01, 4-107-608-11(1). This 100 page document is a publication of
Sony Computer Entertainment, Inc.
4.    Playstation 3 Quick Reference CECHL01, 4-117-133-41(1). This 100 page document is a publication of
Sony Computer Entertainment, Inc.
5.    Playstation 3 Quick Reference CECHP01, 4-126-895-11(1). This 100 page document is a publication of
Sony Computer Entertainment, Inc.
6.    Playstation 3 Safety and Support 2-894-644-12(2). This 80 page document is a publication of Sony
Computer Entertainment, Inc.
7.    Playstation 3 Quick Reference 3-212-098-12(1). This 96 page document is a publication of Sony
Computer Entertainment, Inc.
8.    Playstation 3 Quick Reference 3-275-579-51(1). This 100 page document is a publication of Sony
Computer Entertainment, Inc.
9.    PlayStation 3 Instruction Manual CECH-2001A, 4-151-026-61(1). This 120 page document is a publication
of Sony Computer Entertainment, Inc.
10. A .pdf document dated November 12, 2009 titled "Accessories PS398018 PlayStation 250GB System Sony
Sony Style USA". This three page document is a web advertisement by Sony Electronics, Inc., marketing the
Sony Computer Entertainment, Inc., PS3 System, Model number: PS398018 and related accessories.
11. A .pdf document dated November 11, 2009 titled "Connectivity - DLNA." This one page document is a
web page of Sony Computer Entertainment America, Inc.
12. A .pdf document dated November 11, 2009 titled "Connectivity -Internet Browsing." This one page
document is a web page of Sony Computer Entertainment America, Inc.
13. A .pdf document dated November 11, 2009 titled "Connectivity - Online Features." This one page
document is a web page of Sony Computer Entertainment America, Inc.
14. A .pdf document dated November 11, 2009 titled "Connectivity - Remote Play." This one page document
is a web page of Sony Computer Entertainment America, Inc.
15. A .pdf document dated November 11, 2009 titled "Drake's Fortune Bundle." This three page document is
a web page of Sony Computer Entertainment America, Inc.
16. A .pdf document dated November 11, 2009 titled "FAQs." This four page document is a web page of Sony
Computer Entertainment America, Inc.

These memoranda, reports, records, and/or data compilations (hereafter referred to as "record" or "records")
are kept by Sony Computer Entertainment, Inc., in the regular course of business, and it was the regularly
conducted course of business activity for Sony Computer Entertainment, Inc., for an employee or
representative of Sony Computer Entertainment, Inc., with knowledge ofthe act, event, condition, opinion, or
diagnosiS recorded to make the record or transmit information thereof to be included in such record; the
record was made at or near the time of the occurrence of the matters set forth; and the record was made by

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the regularly conducted activity as a regular practice.

The records attached hereto are originals or exact duplicates of the originals.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on this _     day of December, 2009.




From: Dan_Herp@playstation.sony.com [mailto:Dan_Herp@playstation.sony.com]
Sent: Wednesday, December 02, 2009 7:23 PM
To: Jeff Rambin
Subject: Marvell v. CSIRO (Subpoena to Sony Computer Entertainment America Inc.)


Jeff,

I received your voicemail following up on our conversation earlier today. I have not received your email with the draft
written questions. Also, I am confirming our agreement to extend the time for Sony Computer Entertainment America Inc.
to respond to the subpoena in this action until 12/412009, so that we may have an opportunity to review the draft written
questions. Thanks very much.

Dan Herp
Sony Computer Entertainment America Inc.


This email was Anti Virus checked by Astaro Security Gateway. http://www.astaro.com




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